      Case 2:10-cv-01823-JLR Document 392-1 Filed 08/27/12 Page 1 of 16




                            EXHIBIT 1




009
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 22 of
                                                                   of 16
                                                                      16




699
010
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 33 of
                                                                   of 16
                                                                      16




700
011
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 44 of
                                                                   of 16
                                                                      16




701
012
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 55 of
                                                                   of 16
                                                                      16




702
013
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 66 of
                                                                   of 16
                                                                      16




703
014
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 77 of
                                                                   of 16
                                                                      16




704
015
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 88 of
                                                                   of 16
                                                                      16




705
016
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 99 of
                                                                   of 16
                                                                      16




706
017
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 10
                                                                10 of
                                                                   of 16
                                                                      16




707
018
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 11
                                                                11 of
                                                                   of 16
                                                                      16




708
019
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 12
                                                                12 of
                                                                   of 16
                                                                      16




709
020
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 13
                                                                13 of
                                                                   of 16
                                                                      16




710
021
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 14
                                                                14 of
                                                                   of 16
                                                                      16




711
022
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 15
                                                                15 of
                                                                   of 16
                                                                      16




712
023
      Case 2:10-cv-01823-JLR
      Case 2:10-cv-01823-JLR Document
                             Document 230-4
                                      392-1 Filed
                                            Filed 08/27/12
                                                  03/30/12 Page
                                                           Page 16
                                                                16 of
                                                                   of 16
                                                                      16




713
024
